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 7
                        IN THE UNITED STATES DISTRICT COURT
 8
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
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10
     UNITED STATES OF AMERICA,             )    CASE NO. 2:10-cr-00413 MCE
11                                         )
                         Plaintiff,        )    STIPULATION AND ORDER
12                                         )
     v.                                    )    DATE: January 12, 2012
13                                         )    TIME: 9:00 a.m.
     JUAN MANUEL CUEVAS, AND               )    COURT: Hon. Morrison C. England
14   HUGO CHAVEZ-DELACRUZ,                 )
                                           )
15                                         )
                         Defendants.       )
16                                         )
17
18         IT IS HEREBY STIPULATED by and between Assistant United
19   States Attorney Paul Hemesath, counsel for Plaintiff; J. Toney,
20   counsel for defendant Juan Manuel CUEVAS; and Gilbert Roque, counsel
21   for defendant Hugo Chavez DELACRUZ, that the above status conference
22   be rescheduled from this Court’s January 12, 2012, calendar, and that
23   the matter be re-calendared for March 1, 2012, at 9:00 a.m.           This
24   request is made jointly by the government and defense in order to
25   permit time for continued preparation, including investigation which
26   is currently in progress, and plea negotiations.
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 1   The parties agree that the interests of justice served by granting
 2   this continuance outweigh the best interests of the public and the
 3   defendant in a speedy trial.
 4          IT IS FURTHER STIPULATED that time be excluded between through
 5   March 1, 2012, pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv), Local Code
 6   T-4.
 7
 8   Dated: January 10, 2012                  /s/ Paul Hemesath
                                              Paul Hemesath
 9                                            Assistant United States Attorney
                                              Counsel for Plaintiff
10
     Dated: January 10, 2012                  /s/ J. Toney
11                                            J. Toney
                                              Counsel for Defendant
12                                            Juan Manuel CUEVAS
13   Dated: January 10, 2012                  /s/ Gilbert Roque
                                              Gilbert Roque
14                                            Counsel for Defendant
                                              Hugo Chavez DELACRUZ
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16
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18                                      O R D E R
19          Finding that the interests of justice served by granting this
20   continuance outweigh the best interests of the public and the
21   defendant in a speedy trial, IT IS SO ORDERED.
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23   Dated: January 11, 2012

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                                          MORRISON C. ENGLAND, JR.
26                                        UNITED STATES DISTRICT JUDGE
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